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AO 245B-CAED (Rev. 3/04) Sheet 1 - Judgment in a Criminal Case



                                   United States District Court
                                           Eastern District of California

          UNITED STATES OF AMERICA                                       2nd Amended JUDGMENT IN A CRIMINAL
                     v.                                                  CASE
            EARL EDWARD RIEDEL                                           (For Offenses Committed On or After November 1, 1987)
                                                                         Case Number: 1:08-CR-00384-005


                                                                         Dale Blickenstaff
                                                                         Defendant’s Attorney

THE DEFENDANT:
[U]      pleaded guilty to count: 1 of the Superseding Inform ation .
[]       pleaded nolo contendere to counts(s)        which was accepted by the court.
[]       was found guilty on count(s)      after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                            Date Offense              Count
Title & Section                     Nature of Offense                                       Concluded                 Number(s)
17 USC 506 and 18 USC               Copyright Infringem ent (CLASS A                        10/8/2008                 1ss
2319(b)(3)                          MISDEMEANOR)




       The defendant is sentenced as provided in pages 2 through 19 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s)             and is discharged as to such count(s).

[U]      All rem aining counts of the Superseding Inform ation are dism issed on the m otion of the United States.

[]       Indictm ent is to be dism issed by District Court on m otion of the United States.

[]       Appeal rights given.                          [U]       Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid. If ordered to pay restitution, the defendant m ust notify the court and United States
attorney of m aterial changes in econom ic circum stances.

                                                                                               3/1/2010
                                                                                   Date of Im position of Judgm ent


                                                                                      /s/ OLIVER W . W ANGER
                                                                                     Signature of Judicial Officer


                                                                       OLIVER W . W ANGER, United States District Judge
                                                                               Nam e & Title of Judicial Officer


                                                                                                1/11/2011
                                                                                                   Date
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AO 245B-CAED (Rev. 3/04) Sheet 4 - Probation
CASE NUMBER:                1:08-CR-00384-005                                                                          Judgment - Page 2 of 19
DEFENDANT:                  EARL EDW ARD RIEDEL




                                                           PROBATION
         The defendant is hereby sentenced to probation for a term of 48 months .



The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release on probation and at least two periodic drug tests
thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[]       The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall register and comply with the requirements in the federal and state sex offender registration agency in the
         jurisdiction of conviction, Eastern District of California, and in the state and in any jurisdiction where the defendant resides, is
         employed, or is a student. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
      of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
      of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
      any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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AO 245B-CAED (Rev. 3/04) Sheet 4 - Probation
CASE NUMBER:               1:08-CR-00384-005                                                          Judgment - Page 3 of 19
DEFENDANT:                 EARL EDW ARD RIEDEL




                                 SPECIAL CONDITIONS OF SUPERVISION
         1.   The defendant shall submit to the search of his person, property, home, and vehicle by a United
              States probation officer, or any other authorized person under the immediate and personal
              supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
              Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
              residents that the premises may be subject to searches pursuant to this condition.

         2.   The defendant shall not dispose of or otherwise dissipate any of his assets until the fine and/or
              restitution order by this Judgment is paid in full, unless the defendant obtains approval of the
              Court or the probation officer.

         3.   The defendant shall provide the probation officer with access to any requested financial
              information.

         4.   The defendant shall not open additional lines of credit without the approval of the probation
              officer.

         5.   As directed by the probation officer, the defendant shall participate in an outpatient correctional
              treatment program to obtain assistance for drug or alcohol abuse.

         6.   As directed by the probation officer, the defendant shall participate in a program of testing (i.e.
              breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or alcohol.

         7.   The defendant shall abstain from the use of alcoholic beverages and shall not frequent those
              places where alcohol is the chief item of sale.

         8.   The defendant shall complete 500 hours of unpaid community service as directed by the
              probation officer. The defendant shall pay fees attendant to participation and placement in this
              program on a sliding scale as determined by the program. Community service shall be
              completed by 3/1/2011.

         9.   The defendant shall comply with the conditions of home incarceration for a period of 180 days
              to commence when directed by the probation officer. During this time, the defendant will
              remain at his place of residence at all times and shall not leave except when such leave is
              approved in advance by the defendant’s probation officer. The defendant will maintain
              telephone service at his place of residence without an answering device, call forwarding, a
              modem, caller ID, call waiting, or a cordless telephone for the above period.

              At the discretion of the probation officer, the defendant shall wear an electronic monitoring
              device and follow electronic monitoring procedures specified by the probation officer. The
              defendant shall pay the cost of electronic monitoring as determined by the probation officer.
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CASE NUMBER:               1:08-CR-00384-005                                                       Judgment - Page 4 of 19
DEFENDANT:                 EARL EDW ARD RIEDEL


         10. As directed by the probation officer, the defendant shall participate in a co-payment plan for
             treatment or testing and shall make payment directly to the vendor under contract with the
             United States Probation Office of up to $25 per month.

         11. The defendant shall not possess or use a computer or any device that has access to any “on-line
             computer service” unless approved by the probation officer. This includes any Internet service
             provider, bulletin board system, or any other public or private computer network.

         12. The defendant shall consent to the probation officer and/or probation service representative
             conducting periodic unannounced examinations of (a) any computer, or (b) computer-related
             device, or © equipment that has an internal or external modem which is in the possession or
             control of the defendant. The defendant consents to retrieval and copying of all data from any
             such computer, computer-related device, or equipment as well as any internal or external
             peripherals to ensure compliance with conditions. The defendant consents to removal of such
             computer, computer-related device, and equipment for purposes of conducting a more thorough
             inspection; and analysis.

              The defendant consents to having installed on any computer, computer-related device, and
              equipment, at the defendant’s expense, any hardware or software systems to monitor the use of
              such computer, computer-related device, and equipment at the direction of the probation officer,
              and agrees not to tamper with such hardware or software and not install or use any software
              programs designed to hide, alter, or delete his/her computer activities. The defendant consents
              to not installing new hardware without the prior approval of the probation officer.
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AO 245B-CAED (Rev. 3/04) Sheet 5 - Criminal Monetary Penalties
CASE NUMBER:                  1:08-CR-00384-005                                                                             Judgment - Page 5 of 19
DEFENDANT:                    EARL EDW ARD RIEDEL



                                          CRIMINAL MONETARY PENALTIES
      The defendant m ust pay the total crim inal m onetary penalties under the Schedule of Paym ents on Sheet 6.

                                                    Assessm ent                           Fine                      Restitution
       Totals:                                         $ 25                                $                       $ 11,566.66


[]     The determ ination of restitution is deferred until         . An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determ ination.

[]     The defendant m ust m ake restitution (including com m unity restitution) to the following payees in the am ount listed below.

       If the defendant m akes a partial paym ent, each payee shall receive an approxim ately proportioned paym ent, unless
       specified otherwise in the priority order or percentage paym ent colum n below. However, pursuant to 18 U.S.C. § 3664(i),
       all nonfederal victim s m ust be paid before the United States is paid.




Name of Payee                                       Total Loss*                    Restitution Ordered      Priority or Percentage
   See attached

       TOTALS:                                           $                            $ 11,566.66




[]     Restitution am ount ordered pursuant to plea agreem ent $

[]     The defendant m ust pay interest on restitution and a fine of m ore than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on Sheet
       6 m ay be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ ]        The court determ ined that the defendant does not have the ability to pay interest and it is ordered that:

       [ ] The interest requirem ent is waived for the                  [ ] fine          [ ] restitution

       [ ] The interest requirem ent for the                 [ ] fine   [ ] restitution is m odified as follows:




[]     If incarcerated, paym ent of the fine is due during im prisonm ent at the rate of not less than $25 per quarter
       and paym ent shall be through the Bureau of Prisons Inm ate Financial Responsibility Program .

[]     If incarcerated, paym ent of restitution is due during im prisonm ent at the rate of not less than $25 per quarter
       and paym ent shall be through the Bureau of Prisons Inm ate Financial Responsibility Program .




  ** Findings for the total am ount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
com m itted on or after Septem ber 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 3/04) Sheet 6 - Schedule of Payments
CASE NUMBER:                 1:08-CR-00384-005                                                                           Judgment - Page 6 of 19
DEFENDANT:                   EARL EDW ARD RIEDEL


                                                 SCHEDULE OF PAYMENTS


     Paym ent of the total fine and other crim inal m onetary penalties shall be due as follows:

A    [U]           Lum p sum paym ent of $11,591.66 due im m ediately, balance due

           []      not later than  , or
           []      in accordance with            [ ] C,   [ ] D,   [ ] E, or            [ ] F below; or

B    [ ] Paym ent to begin im m ediately (m ay be com bined with               [ ] C,   [ ] D, or [ ] F below); or

C    [ ] Paym ent in equal    (e.g., weekly, m onthly, quarterly) installm ents of $  over a period of               (e.g., m onths or years),
         to com m ence     (e.g., 30 or 60 days) after the date of this judgm ent; or

D    [ ] Paym ent in equal    (e.g., weekly, m onthly, quarterly) installm ents of $ over a period of   (e.g., m onths or years),
         to com m ence     (e.g., 30 or 60 days) after release from im prisonm ent to a term of supervision; or

E    [ ] Paym ent during the term of supervised release will com m ence within         (e.g., 30 or 60 days) after release from
         im prisonm ent. The court will set the paym ent plan based on an assessm ent of the defendant’s ability to pay at that tim e;
         or

F    [ ] Special instructions regarding the paym ent of crim inal m onetary penalties:




Unless the court has expressly ordered otherwise, if this judgm ent im poses im prisonm ent, paym ent of crim inal m onetary
penalties is due during im prisonm ent. All crim inal m onetary penalties, except those paym ents m ade through the Federal Bureau
of Prisons' Inm ate Financial Responsibility Program , are m ade to the clerk of the court.

The defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties im posed.

[]   Joint and Several

Defendant and Co-Defendant Nam es and Case Num bers (including defendant num ber), Total Am ount, Joint and Several
Am ount, and corresponding payee, if appropriate:




[]   The defendant shall pay the cost of prosecution.

[]   The defendant shall pay the following court cost(s):

[]   The defendant shall forfeit the defendant’s interest in the following property to the United States:
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DEFENDANT:                   EARL EDW ARD RIEDEL


RESTITUTION
Earl Riedel 1:08CR00384


       NAME                                 ADDRESS           PHONE NUMBER             AMOUNT OF
                                                                                      RESTITUTION
 Aimee Bailey             1240 Cherry Street                 610-513-7836                         $21.00
                          Pottstown, PA 19464
 Nick Bair                2820 17 Avenue, Apt. 201           410-299-5648                       $201.37
                          Greely, CO 80631
 Michelle                 23874 Almy Road                    616-247-2453                           $2.66
 Bennett                  Howard City, MI 49329              616-272-1592
 Carol Bills              1020 Snow Meadows Drive, Box 400   435-512-9974                         $41.76
                          Garden City, UT 84028
 Melissa Biter            448 Deveaux Street                 None listed                            $7.00
                          Carrolltown, PA 15722
 Linda Blow               235 Washington Avenue              218-470-8101 (day)                   $56.59
                          Crookston, MN 56716                218-281-7997 (evening)
 Caitlin Clark            262 Reeves Avenue                  609-802-2283                         $13.33
                          Hamilton, NJ 08610
 Laurie                   920 N. Stanford Street             262-707-9372 (cell)                    $5.36
 Cleveland                Port Washington, WI 53074          262-284-2145 (evening)
 Norma Cook               117 Cowhide Circle                 410-554-9285                       $112.86
                          Middle River, MD 21220
 Rebecca Joyner           200 N. Knoxville Ave., Lot 15      419-778-9097                         $37.62
 Cox                      St. Marys, OH 45885
 Christina                305 Warren Street                  631-539-2423                         $14.00
 Delosh                   West Babylon, NY 11704
 Kimberly                 1202 Camelot Lane                  618-466-0729 (home)                $140.78
 Dixon                    Godfrey, IL 62035                  618-920-5881 (cell)
 Sheila Edney             2311 Gray Mist Court               803-547-7206                         $19.96
                          Fort Mill, SC 29707
 Tim Ellefson             N4474 Thompson                     920-428-2438                       $583.72
 (Video Storm)            Shiocton, WI 51470                 920-757-6639
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DEFENDANT:                   EARL EDW ARD RIEDEL




 Gary Fischer             2999 Smith Springs Road, B30      615-366-7116                       $93.21
                          Nashville, TN 37217
 Shannyn                  9990C. W. 190th Street            708-359-4375                       $53.33
 Galmines                 Mokena, IL 60448
 Candy Garcia             741A E. King                      559-687-1558                       $33.33
                          Tulare, CA 93274
 Hamed Ghani              3551 Cloud Land Drive             404-452-4993                     $122.66
                          Stone Mountain, GA 30083
 Laurel                   P.O. Box 668                      775-553-2032                       $25.00
 Hickenbotham             Beatty, NV 89003
 Hilton Hoyt              2434 Muttos Drive                 408-263-9191                       $13.31
                          Milpitas, CA 95035
 Anny Kim                 2272 26th Street                  213-253-8451                       $20.00
                          Santa Monica, CA 90405
 Chandra                  328 Valley Road                   308-750-3408 (day)                 $15.64
 Kosmicki                 Boelus, NE 68820                  308-996-4296 (evening)
 Tina Lavigne             16 Ives Road                      218-220-9464 (day)               $166.66
                          Silver Bay, MN 55614              218-226-0000 (evening)
 Jamie Leese              116 W. Connell Street             716-904-0874                       $52.61
                          Olean, NY 14760
 Tana Leibrano            P. O. Box 452                     406-861-4737 (cell)              $233.33
                          Scobey, MT 59263
 Calah Lopez              1267 W. 1100 N.                   801-388-9770                     $154.34
                          Farr West, UT 84404               801-782-4254
 Tammie                   P.O. Box 1962                     503-668-1054 (day)                 $10.63
 MacAlexy                 Sandy, OR 97055                   971-253-0129 (evening)
 Yvonne Miles             22 Pine Hill Drive                585-593-3533                         $2.33
                          Wellsville, NY 14895


 Renee Miller             11108 Chennault Beach Rd., #831   425-512-0238 (day)                   $3.66
                          Mukilteo, WA 98275
 Tiffany Peery            8147 E. Fox Street                602-430-2737                       $10.00
                          Mesa, AZ 85207
 Robert Pierson           2-15 Street S.E.                  605-886-8783                       $33.33
                          Watertown, SD 57201
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 William Pratt            10210 N.E. 73rd Street          352-486-8011                      $12.31
                          Bronson, FL 32621
 Mary Peabody             18577 Josephs Road              None listed                       $20.96
                          Milton, DE 19968
 Belinda                  P.O. Box 5163                   903-691-9071                        $6.99
 Richrow                  Texarkana, TX 75505
 Larry Sailing            P.O. Box 185                    541-421-3911 (home)               $78.21
                          Long Creek, OR 97856            541-620-2710 (cell)
 Mary                     30 Calhoun Estates Road         601-580-9641                      $26.86
 Scrimpshire              Laurel, MS 39443
 Jaqueline                68 Keystone Way                 415-469-5420                      $26.66
 Sorich                   San Francisco, CA 94127
 Judy Spencer             407 W. St. Louis Street         618-937-4842                    $133.33
                          West Frankfort, IL 62896
 Karen Spicer             3960 W. Bain Road               765-349-7379                        $5.00
                          Martinsville, IN 46151
 Uline Shipping           22005 Lakeside Drive            888-884-6910                    $348.47
 Suppliers                Waukegan, IL 60085              Ext. 6657
 Tabeal Uzziel            4225-F Dudleys Grant                                              $66.66
                          Winterville, NC 28590
 Dina Wheeler             16854 87th Lane North           561-204-1284                      $48.93
                          Loxahitchee, FL 33470
 Heidi Anderson           3423 N. Blue Sage Road          801-876-3565                      $25.00
                          Morgan, Utah 84050              canaboya@netscape.net
 Sharon Argueta           6204 Shawnee Ave.               702-321-6053                      $13.98
                          Las Vegas, NV 89107
 Lacey Arreola            25320 Lk. Fenwick Rd #B-104     253-852-1861                      $10.65
                          Kent, WA 98032-4272
 Geneva                   16909 Sligo Rd                  740-492-0436                      $25.95
 Ashworth                 Kimbolton, OH 43749
 Dan Austin               2309 Galaxy Dr.                 580-482-6251                      $50.00
                          Altus, OK 73521
 Beth Bailey              114 Aarons Dr.                  276-865-0607                        $8.32
                          Birchleaf, VA 24220
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DEFENDANT:                   EARL EDW ARD RIEDEL




 Victoria Bakke           11100 Idaho Ct.                 763-424-5016                      $20.97
                          Champlin, MN 55316
 Cherie Ball              1672 S. 1240 W                  208-360-6190                        $7.98
                          Logan, UT 84321
 P.A. Bass                4908 Summitt Dr.                870-879-4911                    $353.33
                          Pine Bluff, AR 71603
 Stephanie                12912 Curtis Ave                402-493-5299                      $14.00
 Batenhorst               Omaha, NE 68164
 Bonnie                   16437 8th Pl. SW                206-439-3246                        $9.32
 Bowman                   Burien WA 98166
 Toni Bramall             642 E. Tripp Rd.                972-203-8679                      $15.66
                          Sunnyvale, TX 75182
 Mandy                    1262 Tutuilla Rd                208-703-4554                        $9.32
 Brannam                  Pendleton, OR 97801
 Courtney                 3712 Hull Road                  419-324-1212                      $60.87
 Bruner                   Huron, OH 44839
 George                   502 26th St N                   406-952-0411                        $6.65
 Campros                  Great Fall, MT 59401
 Taylor Cardon            101 Turkey Trail                505-362-2263                        $3.61
                          Jemez Springs, NM
 Jana Carpenter           P.O. Box 153                    316-641-3348                      $23.30
                          Goddard, KS 67052
 Anita Carter             1901 Crimson Dr.                248-689-5078                      $10.90
                          Troy, MI 48083
 Alex Cerda               1220 NW 69 St                   305-788-7548                      $42.27
                          Miami, FL 33147


 Maria Chavez             18394 E Caspian Pl              303-751-6548                      $13.98
                          Aurora, CO 80013
 Lynn                     823 Harding Rd                  989-671-6022                      $16.97
 Christiansen             Essexville, MI
 Priscilla                3009 Ashley St                  256-553-9456                      $11.66
 Christian                Gadsden, AL 35904
 William                  318 Walnut                      815-726-5205                        $5.00
 Churchill                Joliet, IL 60432
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DEFENDANT:                   EARL EDW ARD RIEDEL




 Yvette Ciancio           256 A Washington St             978-944-2793                        $6.65
                          Peabody, MA 01960
 Kathryn                  6167 Crosby Rd                  None listed                       $10.65
 Cirgolo                  Lockport, NY 14094
 Julie Clark              74 North 3rd Street             541-606-6900                    $251.06
                          Creswell, Oregon 97426
 Kimberly Clear           12311 E. Maple Grove Rd         316-540-9901                      $12.00
                          Mt. Hope, KS 67108
 Louise Coley             8727 W. Tarboro Rd.             252-451-0470                        $9.32
                          Rocky Mount, NC 27803
 Kristin                  2815 Oakridge Dr                850-932-5229                        $9.32
 Connolly                 Gulf Breez, FL 32563
 Jared Cordon             153 Valle Vista                 925-838-2498                      $20.00
                          Danvill, CA 94526
 Elizabeth                430 parchman Rd                 731-413-9740                        $9.32
 Cullen                   Ripley, TN 38063
 Cheryl Cussen            174 Douglas St. #2              603-661-3659                        $5.32
                          Manchester, NH 73102
 Candy Dalton             7601 FM 1810                    940-567-3444                        $5.00
                          Chico, TX 76431
 Jolene                   111 Jefferson Ave.              715-451-6054                      $12.31
 Dankemeyer               Port Edwards, WI 54469
 Michele                  1040 Mt. Hope St. North         508-699-5211                      $10.32
 Darling                  Peterson, MA 02760
 Lori Dillon              P.O. Box 481                    217-625-8577                      $71.33
                          Pawnee, IL 62588
 Lester Dixon             2062 Bassford Dr.               706-726-1557                      $28.33
                          Heph, GA 30815
 Jessica Drew             6038 Parkham Way                801-230-4078                      $37.28
                          Kearns, UT 84118
 Lauie Drucker            2909 Silverleaf Drive           512-371-7355                        $2.33
                          Austin, TX 78757
 Leshell Duncan           378 Main St                     614-278-6672                      $13.32
                          Graveport, OH 43125
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 Norman                   P.O. Box 382                    307-856-3084                        $6.00
 Duncan                   Kinnear, WY 82516
 Andrea Eikard            611 Quail Crest Drive           901-651-8964                        $8.33
                          Collierville, TN 38017
 Cyndi Evans              1557 Fairfax Cr                 720-936-4285                      $25.00
                          Castle Rock, CO 80104
 Karen Evans              P.O. Box 566                    831-674-3311                      $95.86
                          Greenfield, CA 93927
 Ann Faulk                14555 Philippine St. #111       801-473-4809                      $47.94
                          Houston, TX 77040
 Kim Ferre                1650 W. Kingbird Dr.            480-812-9479                        $6.99
                          Chandler, AZ 85286
 Randy Ferrell            935 Village Dr                  270-830-0654                      $19.31
                          Henderson, KY 42420
 Evangeline               1719 Quillian Ave               719-566-6723                      $32.61
 Ferrera                  Pueblo, CO 81005
 Kathy                    2788 Glenlooke Cir              404-792-2959                      $10.98
 Fitzpatrick              Atlanta, GA 30318
 Aimee Fontenot           335 Jim’s Circle                337-725-3963                        $7.00
                          Ragley, LA 70657
 Freya Friedman           6868 Chesapeake Ct              847-971-9140                      $18.64
                          Burnee, IL 60031
 Leisa Garcia             P.O. Box 368                    505-239-3801                      $69.53
                          Antonito, CO 81120
 Jill Geary               21489 Hillside                  218-736-7616                      $11.98
                          Fergus Falls, MN 56537
 Melanie Gomez            514 14th St                     559-301-0046                      $26.66
                          Sanger, CA 93657
 Kelsey                   3674 River Drive                701-799-6334                      $46.60
 Granberg                 Fargo, ND 58104
 John Green               5079 Morris Mill Rd             540-490-2587                      $27.96
                          Swoope, VA 24479
 Jessie Green             3541 Hillview Dr. NE            828-466-2213                      $27.96
                          Conover, NC 28613
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 Crystal Halida           214 Moonlite Ave                783-0306                            $2.66
                          Bowling Green, KY 42131
 Jack Halley              1006 Ogelthorpe Lane            912-437-5387                      $30.00
                          Darien, GA
 Julie Hammond            33946 St Joe Rd                 813-629-0083                      $50.66
                          Dade City, FL 33525
 Sara Harmon              28385 Mirabellem                661-904-4054                      $42.66
                          Santa Clarita, CA 91360
 Linda Harper             391 Oyachita 509                870-725-2338                      $13.97
                          Lou Ann, ARK 71751
 Rob Harris               38961 Llama St. NW              763-421-9052                        $8.33
                          Dalbo, MN 55017
 Jerlyn Haslam            1017 e. 30 S.                   435-245-4638                        $9.33
                          Hyrum, UT 84319
 Charlie Hatley           48 Holladay Cem Rd              731-584-7510                        $4.00
                          Holladay, TN 38341
 Jenny Heddens            500 Locust Dr                   319-656-3104                        $3.33
                          North Liberty, IA 52317
 Patricia                 41 Vetrone Drive                973-785-0215                      $13.64
 Henderson                West Peterson, NJ 07424
 Steffanie                1442 W 1200S                    801-298-7008                    $105.00
 Holdstock                Woods Cross, UT 84087
 Cortney                  1261 N. Quincy                  801-689-2386                        $7.65
 Holmes                   Ogden, UT 84404
 William Hyde             1487 Quail Ct                   775-266-4604                        $2.66
                          Gardmill, NV 89410
 Shaban Ibrahin           92 Presidential Dr., #3         617-689-0050                        $7.33
                          Quincy, MA 02169
 Karen James              PSC 37 Box 5581                 None given                        $33.29
                          APO AE 09459


 Briana Jansing           6001 Sand Hill Court            405-321-7627                      $50.59
                          Norman, OK 73026
 Lori Jenkins             193 Manbrin Dr. N.              503-947-1316                      $30.29
                          Keizer, OR 97303
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 Nona Johnson             10420 N. 62nd St. E             918-838-1589                    $121.82
                          Wagoner, OK 74467
 Anna Marie               6303 Ave G                      409-602-0403                      $30.00
 Kempf                    Santa Fe, TX 77510
 Diane Klein              137 Parsons St                  413-527-6488                      $23.96
                          Easthampton, MA 01027
 Thomas                   891 County M                    608-347-3473                    $177.00
 Kocinski                 Adams, WI 53910
 Jodi Krysley             965 Meadowlark Ct.              847-838-3832                      $14.98
                          Antioch, IL 60002
 Kelly Larsen             4604 S. Kyle Ave                605-759-3244                      $16.31
                          Sioux Falls, SD 57103
 Lissette Ledec           54 Normandy Dr.                 910-339-8418                      $18.30
                          Fort Bragg, NC 28307
 Megan Lee                715 N. 1050 W                   435-496-9246                        $1.99
                          Provo, UT 84601
 Steve Lehto              439 E. Tamarack                 906-364-1320                        $2.66
                          Ironwood, MI 49938
 Chevalier                P.O. Box 396                    808-553-5464                      $33.33
 Levasa                   Kaunaleakai, HI 96748


 Karen Lindner            6542 N. Placeta Ala             520-529-0172                        $4.00
                          Tuscon, AZ 85750
 Robyn Luff               9876 Victor Dr                  901-237-2321                        $6.32
                          Olive Branch, MS 38654
 Colleen                  265 Prospect Pl #2              347-834-3700                        $8.00
 Lukenich                 Brooklyn, NY
 Anabet Lussier           11 Garry Drive                  508-359-9335                      $11.65
                          Medfield, MA 02052
 Doris Luther             110 Joseph St                   618-893-1791                      $14.31
                          Cobden, IL 62920
 Theresa                  1016 Haarfager Ave              507-223-7095                      $24.30
 MacArthur                Canby, MC 56220
 Sheila Maddux            4 Edgemere Ct.                  817-906-2939                      $40.27
                          Trophy Club, TX 76262
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 Pedro Madera             3734 Cedar Creed Rd             770-297-7004                      $10.63
                          Gainesville, GA 30507
 Meghan                   5827 Invincible                 315-440-4937                      $12.00
 McBennett                Jamesville, NY 13078
 Ryan                     1622 Mycah Dr.                  616-878-7750                      $15.31
 McDowell                 Byron Center, MI 49315
 Janice McEver            29 Suffel St                    412-359-3526                      $12.00
                          Pittsburgh, PA 15211
 Jolene                   1119 Park Ave S.                414-731-7190                      $94.19
 McGinnity                Milwaukee, WI 53172
 Joyce McHugh             445 Elk Trail                   575-834-0640                    $185.73
                          Jemez Springs, NM 87025
 Marilyn                  11 South Windsail Place         281-298-5628                      $27.65
 McLaughlin               The Woodlands, TX 77381
 Joseph McPhail           604 N. Columbia Ave             256-483-6449                      $89.19
                          Sheffield, AL 35660
 Rebecca                  2171 Sarahs Lane                215-343-6477                      $40.27
 Mercado                  Warrington, PA 18976
 Della Michie             4040 park Dr. Lot #7            270-785-2838                      $28.62
                          Owensboro, KY 42301
 Sandra Miller            1913 Rosemont Circle apt A      865-237-7887                      $13.31
                          Louiseville, TN 37777
 Jessika Morgan           1263 Ginger Lane                775-720-1511                        $2.33
                          Carson City, NV 89701
 William                  17 Pleasant St                  603-552-5272                      $16.30
 Morsett                  Derry, NH 03038
 Katherine Muir           2604 Slender Oak Ct             661-664-0951                      $23.30
                          Bakersfield, CA 93311
 Quynh Nguyen             1626 14th Ave Sw                360-888-3959                        $6.66
                          Olympia, WA 98502
 Marianna                 3104 Valentino Ct               none given                          $3.99
 Novielli                 Oakton, VA 22124
 Alexandra                612 S 1st St #10                509-480-5927                      $20.97
 Olmstead                 Selah, WA 98942
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 Elizabeth                1917 Burdin Ave                 518-276-6473                      $21.30
 Osganian                 Troy, NY
 Ed Pereira               34 Sundance Rd                  508-998-6137                      $17.00
                          Dartmouth, MA 02147
 Sheila                   6493 Esler Field Road           318-452-9949                      $37.28
 Peterman                 Pineville, LA 71360
 Anton Plashler           P.O. Box 1311                   682-831-1552                      $13.33
                          Roanke, TX 76262
 Kathryn Polston          2300 Fairview Rd                661-326-2752                    $149.12
                          Bakersfield, CA 93304
 Vernon                   6262 Tulip Dr                   813-383-8562                      $61.23
 Pressley                 Wesley Chapel, FL 33544
 William Quinn            321 Shun Pike                   615-672-5862                      $20.97
                          Cottontown, TN 37048
 Todd Quigley             7850 Hailey Ct                  616-891-7951                      $12.33
                          Caledonia, MI 49316
 Bill Rasmussen           740 W. Reynolds                 815-993-1658                        $5.31
                          Pontiac, IL 61764
 George Reed              5131 38th Pl. #72               602-332-8110                      $13.31
                          Portland, OR 97221
 Patricia Reuter          6234 Cross Cr. Ct               513-737-9044                      $38.66
                          Fairfield, OA 45011
 Rosa Rivera              Terrazas del Toa                787-685-9465                      $26.66
                          3H9 Calle 30
                          Toa Alta, PR 00953
 Michelle                 636 Branch Lake Dr.             Rx4ureyes@yahoo.com               $18.64
 Roberts                  Columbiana, AL 35051
 Thelma                   228 New Castle Dr.              None given                        $22.64
 Rodriguez                Laredo, TX 78045
 Cynthia Ruse             144 Summer Trace Dr             843-821-3495                      $11.66
                          Summerville, SC 29425
 Derek Ryan               202 Gunston Ct                  916-356-1175                      $19.64
                          El Dorado Hills, CA 95762
 Ronda Salter             1000 19th St Apt 1              304-834-1789                      $13.97
                          Vienna, WV 26105
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 Javra Sanchez            111 Florida Ave                 407-287-9748                      $12.65
                          Winter Garden, FL 94787
 Misty Sanchez            4023 Leatherwood Dr             904-710-6455                        $8.82
                          Orange Park, FL
 Nitzavelisse             116 B Craig St                  808-258-6997                      $11.65
 Santos                   Fort Haschuca, AZ 85613
 Brandon                  633 Espanola Way                816-522-7441                      $10.65
 Schimmer                 Melbourne, FL
     Terrence             7605 Admiral Dr.                703-768-2082                        $8.32
 Schull                   Alexandria, VA
 Jackie Schultz           2927 15th Ave S                 218-287-5109                        $8.32
                          Moorhead, MN 56560
 Krysta                   1836 Ionian St                  619-423-5648                        $4.66
 Schwartz                 San Diego, CA 92154
 Rebecca                  621 N. Mill St                  440-827-5531                      $33.33
 Schworm                  Wellington, OH 44090
 Cheryl Sharum            94-1133 Noheaiki Way            808-699-4529                      $47.27
                          Waipahu, HI 96797
 David Shippee            14 Ware Rd                      860-779-2458                      $18.30
                          Dayville, CT 06241
 Sheila Silver            2350 Douglas Rd                 360-380-0601                        $9.99
                          Ferdale, WA 98248
 Angela Snell             401 Ali Drive                   254-554-5213                        $5.33
                          Killeen, TX 76542
 Kelli Sprinkel           5379 Richfield Road             714-264-6753                      $20.28
                          Yorba Linda, CA 92886
 Kelly Steimel            2557 Kate St                    319-504-1925                        $8.65
                          Waterloo, IA 50701
 Karen Strain             14823 W. Nelson Lake Rd         715-634-0662                      $34.27
                          Hayward, WI 54843
 W.J. Sumner              1289 Larch Ave                  925-376-3200                        $6.00
                          Moraga, CA 94556
 Anngi Suseno             3750 S. 35 W                    208-244-2131                      $11.09
                          Idaho Fall, ID 83402
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 Erik Swanson             72 Mariposa Dr                  408-395-2970                        $8.98
                          Los Gatos, CA 95030
 Chandra                  525 S. Lincoln Ave #207         813-628-0600                      $20.00
 Tackney                  Tampa, FL
 Helen Tanner             3816 Norton                     817-917-2304                      $24.98
                          Richland Hills, TX 76118
 Randal Taylor            125 Lefevre Lane                604-886-7863                      $13.33
                          Mtsbg, WV
 Iris Thompson-           9735 Hillview Dr                601-681-8653                      $11.65
 el                       Meridian, MS 39305
 Pama Tucker              2514 W. Augusta Ave #B          602-242-7458                      $39.93
                          Phoenix, AZ 85051
 Wanda Urbina             2410 Lakeside Dr. Apt. 1        319-512-6899                      $10.98
                          Iowa City, IA 52240
 Jennifer Vetter          3 Denise Ct                     631-846-8070                      $13.32
                          Selden, NY 11784
 Kristin                  4560 SW 68 Ct. Cir #8           305-431-6791                        $1.66
 Villasuso                Miami, FL 33155
 Gabriela Vidal           3528 Arroyo Seco Ave            323-223-2779                        $4.66
                          Los Angeles, CA 90065
 Tuyen Vo                 380 N. Lake Rd                  205-585-4879                        $9.98
                          Birmingham, AL 35242
 Debra Wallace            113 Terrace St                  601-538-7949                        $4.66
                          Vicksburg, MS 39180
 Gary                     12 11th Ave                     508-291-6161                      $40.00
 Weddleton                Wareham, MA
 Bethany Wilk             63 Arthura Ave.                 269-986-9006                      $75.00
                          Baltie Creek, MI 49307
 Brenda White             3248 Grand Ave.                 325-692-8894                      $27.63
                          Abilene, TX 79605
 Marlanda                 16224 Lily Orchard Rd           228-218-5072                      $12.31
 Williams                 Mosspoint, MS 39562
 Kyle Wilson              1019 17th Avenue SE             701-215-2031                    $160.00
                          East Grand Forks, MN 56721
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 Sandy Wilson             277 Crystal Spring Rd           931-296-2034                      $77.23
                          Waverly, TN 37185
 Karen                    9168 W. Radcliffe Drive         720-341-6352                      $11.65
 Younggreen               Littleton, CO 80123
 Motion Picture           15301 Ventura Blvd., Bldg. E    818-995-6600                  $2,135.00
 Association              Sherman Oaks, CA 91403
